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         Wells Fargo & Company and
    11 Wells Fargo Bank N.A.

    12                         UNITED STATES DISTRICT COURT
    13                       CENTRAL DISTRICT OF CALIFORNIA
    14 FEDERAL TRADE                          CASE NO. 18-cv-9573-JFW(JPRx)
         COMMISSION,
    15                                        Judge:Hon. John F. Walter
                      Plaintiff,              Ctrm: 7A
    16
                 v.                           PROPOSED INTERVENORS WELLS
    17                                        FARGO & COMPANY AND WELLS
         APEX CAPITAL GROUP, LLC,             FARGO BANK N.A.’S NOTICE OF
    18 et al.,                                MOTION AND MOTION TO
                                              INTERVENE
    19
                      Defendants.             Date: February 21, 2022
    20                                        Time: 1:30 p.m.
    21                                        Complaint Filed: November 11, 2018
                                              Am. Compl. Filed: May 30, 2019
    22

    23

    24 TO THE HONORABLE COURT, PARTIES, AND COUNSEL OF RECORD:

    25           PLEASE TAKE NOTICE that on February 21, 2022, at 1:30 p.m. in
    26 Courtroom 7A of the United States District Court for the Central District of

    27 California, 350 West 1st Street, Los Angeles, California 90012, Proposed

    28 Intervenors Wells Fargo & Company and Wells Fargo Bank, N.A. will, and hereby
                                             1
         PROPOSED INTERVENORS WELLS FARGO & COMPANY AND WELLS FARGO BANK N.A.’S NOTICE OF
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     1 do, seek an order granting them intervention in the above captioned matter as a

     2 matter of right, or alternatively, with permission of the Court, pursuant to Federal

     3 Rule of Civil Procedure 24(a)(2) or 24(b)(1) (“Motion”).

     4        This Motion is based upon this Notice of Motion and Motion to Intervene,
     5 the Memorandum of Points and Authorities, the Request for Judicial Notice, the

     6 pleadings and documents on file in this matter, any oral argument of counsel, and

     7 upon such other information as the Court may allow.

     8        Pursuant to Rule 7.3, and as set forth in the separately filed Joint Statement of
     9 Meet and Confer, Wells Fargo and the parties met and conferred in advance of

    10 filing this motion.

    11

    12 DATED: January 18, 2022                 Respectfully submitted,
    13                                         MCGUIREWOODS LLP
    14

    15                                         /s/Alicia A. Baiardo____________________
    16                                         David C. Powell, Esq.
                                               Kevin M. Lally, Esq.
    17                                         Alicia A. Baiardo, Esq.
    18                                         Counsel for Proposed Intervenors
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                                               Wells Fargo & Company and Wells Fargo
                                              Bank, N.A.
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     1                MEMORANDUM OF POINTS AND AUTHORITIES
     2 I.      INTRODUCTION
     3         Wells Fargo seeks to intervene to challenge orders issued before the Supreme
     4 Court’s precedent-altering decision AMG Cap. Mgmt., LLC v. FTC, 141 S. Ct. 1341

     5 (2021). These orders are no longer consistent with the law, but are still being relied

     6 upon by the Court-appointed Receiver to pursue litigation against Wells Fargo.

     7 Specifically, the AMG Capital Court unanimously held that the equitable authority

     8 granted under Section 13(b) of the Federal Trade Commission Act (“FTC Act”) is

     9 limited to prospective injunctive relief and does not grant the FTC authority to

    10 obtain monetary relief. Based in whole on Section 13(b), or in combination with the

    11 equitably limited Section 19, this Court imposed monetary settlements exceeding

    12 $100,000,000 on the Defendants in this action, and empowered the Court-appointed

    13 Receiver with the “full powers of an equity receiver.”

    14         Propelled by what is now known to be a plainly overbroad grant of authority
    15 and relying on monetary judgments that were erroneously imposed, the Receiver, in

    16 turn, filed a lawsuit against Wells Fargo through which it is pursuing damages based

    17 upon the judgments here. If its intervention motion is granted, Wells Fargo will

    18 detail how the continuation of these erroneous orders creates a perverse outcome in

    19 which the Receiver, appointed under the limited equitable authority provided within

    20 the FTC Act, is exploiting those orders in its pursuit of Wells Fargo in a manner that

    21 circumvents core limitations to that authority recognized by the Supreme Court.

    22         Intervention is both proper and necessary as Wells Fargo’s claim satisfies the
    23 thresholds for intervention as of right or permissively. Wells Fargo’s motion is

    24 timely and its ability to protect its interests will be impaired if intervention is not

    25 granted. As to permissive intervention, Wells Fargo’s motion shares multiple

    26 common questions of law and fact with this action as the Receiver has

    27 acknowledged this matter is related to the Wells Fargo Litigation. Finally, Wells

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  1 Fargo’s motion to intervene does not try to expand the jurisdiction of this Court.

  2 II.        FACTUAL AND PROCEDURAL BACKGROUND
  3            A.    FTC’s Action Against Principal Defendants
  4
               The Wells Fargo Litigation is a direct byproduct of this case, which is a 2018
  5
      Federal Trade Commission (“FTC”) enforcement action brought under the FTC Act,
  6
      which charged Apex Capital Group, LLC, its principal owners Phillip Peikos
  7
      (“Peikos”) and Barnett (“Barnett”), and 11 of its affiliated entities (“Corporate
  8
      Defendants”; collectively, “Defendants”) with a multi-tiered scheme to sell millions
  9
      of dollars of goods to defrauded customers. The FTC Complaint alleged five
 10
      separate violations of the FTC Act, 15 U.S.C. § 45(a), based on Apex’s use of unfair
 11
      and deceptive acts or practices, including: (1) misrepresentations of the price of trial
 12
      offers; (2) misrepresentations as to whether the purchase was singular or recurring
 13
      pursuant to a subscription plan; (3) the failure to include material terms of trial
 14
      offers; (4) unfairly charging consumers without authorization; and (5) credit card
 15
      money laundering, a single violation of the Restore Online Confidence Act
 16
      (“ROSCA”), 15 U.S.C. §§ 8401-04, and a separate violation of the Electronic Fund
 17
      Transfer Act, 15 U.S.C. § 1693e(a), based on their purported unauthorized debiting
 18
      of consumer accounts. Id. at 32-35.1 The Complaint sought both equitable and
 19
      statutory relief including injunctions and monetary relief including disgorgement,
 20
      restitution, and sale refunds under Section 13(b), 15 U.S.C. § 53(b) and consumer
 21
      redress through recission of contracts and sale refunds under Section 19. Id. at 35-
 22
      36.
 23
               In conjunction with filing the Complaint, the FTC moved ex parte and under
 24
      seal for a temporary restraining order (“TRO”), and the appointment of a temporary
 25
      receiver (among other things). Dkt. 2 at 3-4. The FTC’s motion and supporting
 26

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 28   1
          The FTC did not pursue administrative relief in advance of filing the Complaint.
                                                  2
      PROPOSED INTERVENORS WELLS FARGO & COMPANY AND WELLS FARGO BANK N.A.’S NOTICE OF
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  1 documentation largely echoed the allegations of the Complaint. Addressing the

  2 appointment of a Receiver, the FTC advised the Court that Section 13(b) provides

  3 district courts with authority to grant permanent injunctions and “any ancillary relief

  4 necessary to accomplish complete justice . . . including a non-noticed TRO, a

  5 preliminary injunction, an asset freeze and the appointment of a receiver,” and cited

  6 a Section 13(b) case, FTC v. U.S. Oil & Gas, 748 F.2d 1431, 1432 (11th Cir. 1984),

  7 as support for the Court’s equitable authority to appoint a receiver. Dkt. 5 at 26-27,

  8 44. The FTC separately cited to Section 19 as providing district courts with more

  9 limited authority of granting asset freezes and preliminary injunctions to preserve

 10 resources for eventual consumer redress. Id. at 26-27.

 11        In a sealed order, this Court granted the TRO pursuant to Sections 13(b) and
 12 19 of the FTC Act, Federal Rule of Civil Procedure 65 (addressing non-noticed

 13 TROs), and the All Writs Act, without tying specific aspects of the order to any

 14 specific statutory authority. Dkt. 16 at 4-5. The TRO set forth the scope, duties and

 15 authority of the Receiver–terms that have since remained substantively unchanged.

 16 Id. at 19-31; Dkt. 40 at 18-30, Dkt. 41 at 18-30. The Court explained it had

 17 “exclusive jurisdiction” over the assets of the Receivership and the Receiver would

 18 serve “solely” as “the agent of this Court” as it operated “with the full powers of an

 19 equity receiver.” Id. at 18-19, 26. This Court further empowered the Receiver to

 20 pursue monetary relief by “su[ing] for, collect[ing], and receiv[ing] all Assets of the

 21 Receivership Entities . . .” and by “institute[ing . . .] or otherwise becom[ing] party

 22 to any legal action . . . to preserve or recover the Assets of the Receivership Entities,

 23 or to carry[ing] out the Receiver’s mandate under this Order, including but not

 24 limited to, actions challenging fraudulent or voidable transfers.” Id. at 19, 21.

 25        In December 2018, Peikos, Barnett and the Corporate Defendants stipulated
 26 to entry of a preliminary injunction including the appointment of a receiver and

 27 other equitable relief. Dkt. 37, 39. These proposed orders contained language

 28 mirroring the TRO and extended the Receivership under the same terms. Dkt. 40 at
                                           3
      PROPOSED INTERVENORS WELLS FARGO & COMPANY AND WELLS FARGO BANK N.A.’S NOTICE OF
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  1 18-30; Dkt. 41 at 18-30. In May 2019, the FTC charged two new defendants, SIA

  2 Transact Pro and Mark Moskvins with violations of the FTC Act.2 Dkt. 73 at 39-40.

  3                1.     Wells Fargo’s Role as Third-Party Witness
  4         Throughout the FTC proceedings, Wells Fargo was a third-party corporate
  5 witness. It responded to legal process by freezing accounts and by providing account

  6 documentation and other information relating to select accounts opened by

  7 Defendants. Notably, neither the Complaint nor the FAC ascribes any involvement

  8 in and knowledge of, wrongdoing by Wells Fargo or its employees.3

  9                2.     Defendants Settle For More Than $100 Million
 10
            On September 11, 2019, this Court entered separate stipulated orders for
 11
      permanent injunction and monetary judgment between the FTC and Peikos and the
 12
      Corporate Defendants and the FTC and Barnett (collectively, “Stipulated
 13
      Settlements”). Dkt. 120-21. The Stipulated Settlements were “no fault” agreements
 14
      and included equitable monetary relief awards untethered to any specific statutory
 15
      violation alleged in the Complaint. Dkt. 120 at 2, 22-25; 121 at 2, 22-28.
 16
            Specifically, the Stipulated Settlements, which relate back to the Complaint,
 17
      include monetary judgments of $60,300,000, imposed joint and severally among
 18
      Peikos and the Corporate Defendants, and $47,300,000 imposed independently
 19

 20

 21   2
        The new charges were based, at least in part, on the FTC’s review of more than
 22   95,000 emails provided by the Receiver. As with the Complaint, the FAC did not
      ascribe any direct knowledge or involvement by anyone at Wells Fargo. In
 23   December 2019, the FTC entered a settlement with Moskvins and SIA Transact Pro
      (“Moskvins Settlement”) that included a $3,500,000 monetary judgment.
 24   3
        The Complaint and FAC repeatedly reference how a different major U.S. bank
      housed the “single, centralized account” to which all allegedly illicitly obtained
 25   funds were funneled. See, e.g., Dkt. 1 at 12, 14, 28. As to Wells Fargo, the
      Complaint and FAC simply reference that the Defendants, on select occasions,
 26   submitted doctored Wells Fargo checks to facilitate the opening of merchant
      accounts with other payment processors and that Defendants, at times, used Wells
 27   Fargo accounts as one step in the multi-layered process through which they
      ultimately sent all of their illicit proceeds into the “single, centralized account” at
 28   the other major U.S. bank. Id. at 27-28.
                                                 4
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  1 against Barnett, that were designed to serve “as equitable monetary relief, which

  2 may include restitution.” Dkt. 120 at 1, 22; Dkt. 121 at 1, 22. In both Stipulated

  3 Settlements, the FTC agreed to suspend the entirety of the monetary judgments

  4 imposed, provided the Defendants met designated conditions. Dkt. 120 at 22-24;

  5 Dkt. 121 at 22-28. Money paid to the FTC would be used for “equitable relief,

  6 including consumer redress” and “disgorgement.” Id. There is no indication the FTC

  7 has ever sought to lift the suspended judgments as to any Defendant. Id. Each

  8 Stipulated Settlement provides the “Court retains jurisdiction [about] construction,

  9 modification, and enforcement of this Order.” Dkt. 120 at 32; Dkt. 121 at 39.

 10            B.    The Court Orders Allowing Suit Against Wells Fargo
 11            The Barnett Settlement included a provision ordering the Receiver to begin
 12 winding down its operations.4 Dkt. 120 at 27-28. On February 4, 2020, the Receiver

 13 filed two separate motions in support of its request to extend the Receivership term

 14 by one year to March 11, 2021: (1) a continuance request; and (2) a motion to retain

 15 contingency fee counsel to file a new suit against Wells Fargo. Dkt. 143-44. This

 16 latter motion was accompanied by the Receiver’s under seal declaration addressing

 17 its assessment of its investigation into Wells Fargo. Dkt. 148. On March 9, 2020, at

 18 a hearing attended only by the Receiver and his counsel, the Court entered orders

 19 that kept the case open, modified the Barnett Settlement to extend the Receivership

 20 until March 11, 2021, and authorized the Receiver to retain contingent fee counsel

 21 in its pursuit of litigation against Wells Fargo. Dkt. 151-53.

 22            On March 5, 2021, the Receiver filed a motion to continue the Receivership
 23 an additional six months to September 11, 2021. Dkt. 167. Again, the Receiver

 24 supported its request with an under-seal declaration addressing developments in its

 25 investigation of Wells Fargo. Dkt. 171. On March 26, 2021 (15 days after the date

 26

 27
      4
          While issued as part of the Barnett Settlement, the provision expressly extended
 28 orders appointing the Receiver in the entire Apex case. Id. at 27.
                                               5
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  1 the receivership was to have terminated under this Court’s March 9, 2020 order),

  2 this Court issued a minute order granting the Receiver’s request extending the

  3 Receivership’s completion date to September 11, 2021. Dkt. 172.

  4           In July and August 2021, the Receiver sought, and the Court granted, another
  5 full year extension principally to allow it to prosecute a civil lawsuit filed against

  6 Wells Fargo in the Southern District of California. Dkt. 186, 198.

  7                  1.    Receiver’s Litigation Against Wells Fargo
  8           The Receiver filed his lawsuit on July 8, 2021. The retained contingency
  9 counsel also filed a putative class action on behalf of consumers the same day. Both

 10 seek punitive and exemplary damages.

 11           The Wells Fargo Litigation seeks to hold Wells Fargo accountable for tens of
 12 millions of dollars to backfill the portion of the monetary judgments imposed

 13 against the Defendants – the actual wrongdoers – that the FTC voluntarily elected to

 14 suspend as part of the Stipulated Settlements. Specifically, the Wells Fargo

 15 Litigation states that the Receiver seeks damages, including punitive and treble

 16 damages, in support of “the Receivership Entities’ legal obligations to satisfy the

 17 FTC judgments” to “make whole the consumers who were defrauded as a result of

 18 the Apex and Triangle frauds that Wells Fargo facilitated,” and to cover the FTC’s

 19 costs of defending the Triangle and Apex matters (to include the costs of the

 20 Receivership in each matter). See McNamara v. Wells Fargo, Case No. 3:21-cv-

 21 01245-LAB-JLB, Dkt. 1 at ¶ 240, attached as Request for Judicial Notice (“RJN”)

 22 Exhibit A. When the amount of the suspended judgments in this case is coupled

 23 with the approximately $160 million in suspended judgments5 from the Triangle

 24 case, and accounting for the Receiver’s pursuit of treble and punitive damages, the

 25 Receiver is seeking recovery of over a half billion dollars from Wells Fargo.

 26

 27
      5
          The Triangle Defendants were required to pay less than $9,000,000 of the
 28 $171,000,000+ stipulated judgments.
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  1        C.     The Supreme Court Holds Section 13(b) Does Not Permit Recovery
  2
                  of Equitable Monetary Relief

  3        Although the Receiver signaled as early as February 2020 that he intended to
  4 proceed with a lawsuit against Wells Fargo for monetary damages, he did not file

  5 the Wells Fargo Litigation until July 2021, eighteen months later. Dkts. 144, 144-1;

  6 RJN Exh. A. In the interim, the United States Supreme Court unanimously held that

  7 Section 13(b) was limited in scope to prospective injunctive relief and “did not grant

  8 the [FTC] authority to obtain equitable monetary relief.” AMG Capital, 141 S. Ct. at

  9 1352. In doing so, the Supreme Court acknowledged that its decision effectively

 10 invalidated the principal enforcement mechanism the FTC had used for decades,

 11 albeit without lawful authority, to recover billions of dollars in damages and

 12 disgorgement (including the $1.27 billion judgment imposed as a remedy for the

 13 deceptive payday lending practices utilized by AMG Capital). Id. at 1346-49.

 14 Central to the Supreme Court’s holding was its finding that the FTC and the lower
          6
 15 Courts had profoundly misinterpreted the breadth of equitable authority that exists

 16 within this particular statute, which had been broadly construed to allow for

 17 monetary relief when, in fact, it was limited purely to prospective injunctive relief.

 18 Id. at 1350, 1352 (“the scope of equitable relief that a provision authorizes ‘remains

 19 a question of interpretation in each case’”; “to read § 13(b) to mean what it says, as

 20 authorizing injunctive but not monetary relief. . .”). The AMG Capital Court, in turn,

 21 explained that the FTC Act provided district courts the authority to “impose limited

 22 monetary penalties” to redress consumer injuries—but did so under Section 19—

 23

 24

 25

 26  The Ninth Circuit, which initially decided AMG Capital, explained that this Circuit
      6

    had for decades consistently interpreted the scope of relief under Section 13(b) to be
 27 extremely broad, stating “[w]e have repeatedly held that § 13 ‘empowers district
    courts to grant any ancillary relief necessary to accomplish complete justice.’” FTC
 28 v. AMG Capital, 910 F.3d at 417, 426 (9th Cir. 2018).
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  1 which includes a series of substantive and procedural restrictions, including a three-

  2 year statute of limitations.7 Id. at 1348-49; see also 15 U.S.C. § 57b.

  3            Following the AMG Capital decision, the Ninth Circuit has vacated all FTC
  4 matters on direct appeal that included monetary awards based on Section 13(b) and

  5 remanded these matters to the district courts for further proceedings consistent with

  6 AMG Capital. See, e.g., AMG Cap. Mgmt., 998 F.3d 897 (9th Cir. 2021) (summarily

  7 reversing district court’s award of equitable monetary relief and remanding to

  8 district court for further proceedings); FTC v. Hoyal & Assocs., Inc., 2021 WL

  9 2399707 (9th Cir. June 11, 2021) (vacating the district court’s equitable monetary

 10 judgment in light of AMG Capital but affirming the permanent injunction issued

 11 pursuant to Section 13(b)); FTC v. Publishers Bus. Servs., Inc., 849 F. App’x 700

 12 (9th Cir. 2021) (same); FTC v. VPL Med., Inc., 846 F. App’x 561 (9th Cir. 2021)

 13 (vacating monetary judgment under Section 13(b)).

 14            The FTC now concedes, as it must, that Section 13(b) cannot be a basis for
 15 monetary relief in cases pending on direct review before a District or Circuit Court.8

 16

 17
      7
          As the issue was not before it, the Supreme Court did not consider the scope of
 18 equitable authority provided by Section 19. However, the statute itself indicates that
      it falls well short of the broad equitable authority that incorrectly had been thought
 19 to exist in Section 13(b) (courts have “jurisdiction to grant such relief as the court
      finds necessary to redress injury to consumers . . .resulting from the rule violation or
 20 the unfair or deceptive practice . . . [and] such relief may include, but shall not be
      limited to . . .the refund of money . . .[and] the payment of damages . . .[but may not
 21 include] any exemplary or punitive damages.” 15 U.S.S. § 57b(b); see also, FTC v.
      Gem Merchandising Corporation, 87 F.3d 466, 469 (11th Cir. 1996) (comparing
 22 Section 13(b) and Section 19 and finding that Section 19’s prohibition against
      punitive and exemplary damages constituted “a legislative command [that]
 23 expressly limits a court’s equitable jurisdiction.”).
      8
          In this case, the FTC acknowledged in responding to Moskvins and SIA Transact
 24 Pro’s Rule 60 challenge that the Moskvins Settlement resulted from 13(b) which
      could not result in the recovery of a monetary judgment if brought today. Dkt. 197
 25 at 1 (“although the Supreme Court subsequently interpreted Section 13(b) in a
      manner that would have left the FTC unable to recover”.) Likewise, this Court
 26 found that, in light of AMG Capital, “that portion of the Stipulated Judgment
      granting the FTC equitable monetary relief was erroneous because it was not
 27 authorized by Section 13(b)). Dkt. 207 at 4. Nevertheless, this Court denied the Rule
      60 motion, in part, because the defendants were aware the Seventh Circuit had
 28
                                                  8
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  1 See, e.g., FTC v. AMG Cap. Services, Inc., 12-cv-536-GMN-VCF (D. Nev. Sept. 3,

  2 2021) (“AMG Services Inc.”) attached as RJN Exh. B, Dkt. 1338 at 22 (“[section]

  3 13(b) as currently written does not grant the [FTC] authority to obtain equitable

  4 monetary relief...[a]ccordingly, the Court denies the FTC’s request for equitable

  5 monetary relief under Section 13(b).”). However, in cases in which a Section 19

  6 allegation was alleged and proved—typically fully-litigated ROSCA violations—the

  7 FTC has asked district courts to amend monetary judgments issued under Section

  8 13(b) to allow for recovery for some or all of the prior judgment under Section 19.

  9 While there is no controlling authority on this issue, district courts generally have

 10 acknowledged the availability of monetary relief in such cases and then analyzed the

 11 specific facts and circumstances of the individual case to determine whether to

 12 impose monetary damages and the amount of damages to be imposed. See, e.g., FTC

 13 v. Credit Bureau Ctr. LLC, No. CV 17-194, 2021 WL 4146884 (N.D. Ill. Sept. 13,

 14 2021) (appeal pending) (reimposing monetary damages); cf, FTC v. Cardiff, No. CV

 15 18-2104-DMG (PLAx), 2021 U.S. Dist. LEXIS 155342, *5, 17-22, 25-28 (C.D.

 16 Cal., June 29, 2021) (finding monetary recovery permissible under Section 19 as

 17 ROSCA violation proved at summary judgment but precluding recovery due to FTC

 18 having provided expert damage model to support Section 13(b), not 19 damages).

 19         Two district courts, including the court in AMG Capital,9 have terminated
 20 receiverships/monitorships when implementing the AMG Capital decision in

 21

 22
      broken with precedent and held that monetary relief could not be recovered under
 23   Section 13(b), used this fact to negotiate a favorable resolution, and made a strategic
      decision to voluntarily enter an agreement with the FTC that included the favorable
 24   monetary judgment.
      9
        The Receiver in this action served as the court-appointed Monitor in AMG Capital.
 25   Following the issuance of the Supreme Court decision in that case, he conceded that
      the Monitor “no longer has the authority to pursue the [related litigation stemming
 26   from the underlying FTC action which were initiated pursuant to the duties
      conferred upon him by the court] in light of the Supreme Court’s reversal of the
 27   monetary judgment” and that he “is of the view that he must dismiss the actions as
      part of the wind down process.” See AMG Services Inc., Case No. 2:12-cv-00536-
 28   GMN-VCF, Dkt. 1333 at 1-2, attached as RJN Exhibit C.
                                                 9
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  1 Section 13(b) proceedings. AMG Services, Inc., Case No. 2:12-cv-00536-GMN-

  2 VCF Dkt. 1338 at 22-23, (granting summary judgment for defendants, denying re-

  3 instatement of $1.27 billion judgment as monetary relief could not be obtained

  4 through Section 13(b), and ordering termination of monitorship, which had been

  5 involved in collections, settlement negotiations, and litigation against third parties);

  6 FTC v. Cardiff, 18-cv-2104-DMG-PLA (C.D. Cal. 2018); Dkt. 627 at 2, 9-10, 12,

  7 attached as RJN Exh. D (ordering termination of the receivership after determining

  8 that no ROSCA-based damages would issue).

  9        D.     Wells Fargo Secures Material Under Seal Documents
 10        Several material documents necessary to assess and advance Wells Fargo’s
 11 substantive AMG Capital claim remained subject to this Court’s sealing orders until

 12 recently: namely, the TRO in which this Court first appointed McNamara as

 13 Receiver and established the scope, duties and authority of the Receivership, and

 14 McNamara’s two declarations laying out the results of the Receiver’s investigation

 15 and the reasons behind the delays in proceeding with its litigation against Wells

 16 Fargo, which were presented to justify the Receiver’s requests to secure contingent

 17 counsel and to modify the Barnett Settlement to extend the Receiver’s termination

 18 date. Dkt. 16. Wells Fargo prepared to intervene to secure these documents in

 19 October 2021 as a necessary first step towards proceeding with this intervention

 20 motion. However, through a series of meet and confer communications, the FTC

 21 and the Receiver agreed to jointly request the release of these documents. Dkt. 212.

 22 On December 10, 2021, this Court granted the request and ordered the three

 23 documents be unsealed. Dkt. 213.

 24        Having now accessed and reviewed the necessary materials, Wells Fargo
 25 seeks to intervene to raise AMG Capital-based challenges to this Court’s orders

 26 empowering the Receiver with the “full powers of an equity receiver,” as they are

 27 overbroad and the prospective pursuit of erroneously issued monetary judgments as

 28
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  1 applied from Wells Fargo. Intervention in this matter is appropriate as Wells Fargo

  2 has satisfied the requirements of both Rules 24(a) and 24(b), and this Court has

  3 maintained jurisdiction over the matter, including the Receivership “for purposes of

  4 construction, modification, and enforcement of [the Stipulated] Order[s].10 Dkts. 120

  5 at 32; 121 at 39.

  6 III.       ARGUMENT
  7            A.    Wells Fargo Possesses Article III Standing
  8
               Wells Fargo plainly has standing to intervene. Town of Chester v. Laroe
  9
      Estates, Inc., 137 S.Ct. 1645, 1650-51 (2017). To establish Article III standing, the
 10
      proposed intervenor must establish: (1) injury in fact; (2) that is fairly traceable to
 11
      the challenged conduct of the defendant; and (3) that is likely to be redressed by a
 12
      favorable ruling. In doing so, the proposed intervenor need not definitively establish
 13
      that a right has been infringed but rather must simply establish a colorable claim to
 14
      such a right. E. Bay Sanctuary Covenant v. Biden, 993 F.3d 640, 664-65 (9th Cir.
 15
      2021) (“Whether a party has sufficient statutory or otherwise legal basis for their
 16
      claims is irrelevant at this threshold [analyzing standing] stage.); Warth v. Seldin,
 17
      422 U.S. 490, 500 (1975) (“[S]tanding in no way depends on the merits of the
 18
      plaintiff’s contention that particular conduct is illegal....”).
 19
               Wells Fargo has sustained, and continues to sustain, injury as a result of the
 20
      erroneous orders in this proceeding that: (1) improperly imposed monetary
 21
      judgments under Section 13(b) that are now being applied prospectively against it;
 22
      and (2) have provided the Receiver with powers that fall plainly beyond the
 23
      permissible scope of equitable authority under Sections 13(b) and 19, which powers
 24
      have been used by the Receiver to file his complaint against Wells Fargo in federal
 25
      court. Wells Fargo’s injury here is the Receiver’s authority to pursue litigation
 26

 27
      10
           See Pearson v. Target Corp, 893 F.3d 980, 986 (7th Cir. 2018) (order retaining
 28 jurisdiction provides district court continuing jurisdiction over parties’ claims)
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  1 against Wells Fargo pursuant to an invalidated legal principle, and the resulting

  2 reputational harm and litigation costs – all of which Wells Fargo has suffered, and

  3 will continue to suffer, as the result of the Receiver’s filing of the Wells Fargo

  4 Litigation. See also TransUnion LLC v. Ramirez, 141 S.Ct. 2190, 2200 (2021)

  5 (“Central to assessing concreteness [for Article III standing] is whether the asserted

  6 harm has a ‘close relationship’ to a harm traditionally recognized as providing a

  7 basis for a lawsuit in American courts—such as physical harm, monetary harm, or

  8 various intangible harms including [] reputational harm.”).

  9        It is indisputable that this injury is “fairly traceable to the challenged action.”
 10 Clapper v. Amnesty Int’l USA, 133 S.Ct. 1138, 1147 (2013). The Court appointed

 11 this Receiver in this case to serve as its “agent” in resolving matters related to this

 12 Court’s “exclusive jurisdiction” over the Receivership’s assets in this matter. The

 13 Receiver claims these assets include causes of action held by the Corporate

 14 Defendants (who are deemed to be “Receivership Entities”) against Wells Fargo for

 15 purportedly conspiring with, and aiding and abetting, the Defendants as they

 16 committed the conduct that gave rise to this case. Exercising the authority provided

 17 by the Court, the Receiver secured access to the documents, witnesses, and other

 18 evidence on which the Wells Fargo Litigation is based. Further, it is the erroneously

 19 issued monetary judgments in this case that serve as the foundation of the Wells

 20 Fargo Litigation. It is to this Court, in this case, that the Receiver repeatedly has

 21 returned – as it must – to give status reports and secure authorization to take

 22 significant steps forward, such as when retaining outside counsel to assist with the

 23 Wells Fargo Litigation. The Receiver also has relied on this Court’s authority to

 24 recover purported Receivership assets from Wells Fargo and to extend the

 25 termination date of the Receivership so that the Receiver can continue the Wells

 26 Fargo Litigation with the goal of securing a “substantial” monetary judgment that

 27 will be provided to the FTC to serve as redress to consumers who suffered loss due

 28 to the Defendant’s alleged fraud scheme in this case.
                                             12
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  1        Likewise, there can be no real question that Wells Fargo’s claim is likely to
  2 be redressed through a positive ruling. Lujan v. Defenders of Wildlife, 112 S.Ct.

  3 2130, 2136 (1992) (redressability established when it is “likely” and not “merely

  4 speculative” that the injury will be “redressed by a favorable ruling”). Granting

  5 Wells Fargo’s requests in whole, or in part, to align these orders with the AMG

  6 Capital ruling and the proper scope of equitable authority under Sections 13(b) and

  7 19, would: (1) remove the financial basis that is the foundation of the Receiver’s

  8 Action against it; (2) limit the amount and kinds of damages the Receiver can

  9 actively pursue ; (3) remove or reduce the reputational harm caused by the

 10 Receiver’s allegations of participation in fraudulent conduct resulting in large scale

 11 consumer harm; and (4) extinguish Wells Fargo’s due process concerns that are

 12 inherent to having defend itself in a lawsuit brought by this Court’s representative

 13 that is built on, and continues to be propped up by, orders of this Court that are now

 14 known to be erroneous. Made in the USA v. U.S., 242 F.3d 1300, 1311 (11th Cir.

 15 2001) (partial redress sufficient to confer standing).

 16        B.     Wells Fargo Is Entitled to Intervene as of Right
 17        Pursuant to Federal Rule of Civil Procedure 24(a), an applicant is entitled to
 18 intervene as a matter of right if four conditions are met: (1) the application is timely;

 19 (2) the applicant has a “significant protectable interest” in the action; (3) “the

 20 disposition of the action may, as a practical matter, impair or impede the applicant’s

 21 ability to protect its interest;” and (4) “the existing parties may not adequately

 22 represent the applicant’s interest.” Citizens for Balanced Use v. Montana Wilderness

 23 Ass’n, 647 F.3d 893, 897 (9th Cir. 2011). The proposed intervenor bears the burden

 24 to demonstrate that the requirements of Rule 24 have been met, Petrol Stops Nw. v.

 25 Continental Oil Co., 647 F.2d 1005, 1010 (9th Cir. 1981); however, “courts are to

 26 take all well-pleaded, nonconclusory allegations in the motion to intervene . . .as

 27 true absent sham, frivolity, or other objections.” Sw. Ctr. for Biological Diversity v.

 28
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  1 Berg, 268 F.3d 810, 820 (9th Cir. 2001). The Ninth Circuit construes “Rule 24(a)

  2 liberally in favor of potential intervenors” and assesses motions for intervention

  3 “primarily by practical considerations, not technical distinctions.” Id. at 818

  4 (quotation and citation omitted). Such a “liberal policy in favor of intervention

  5 serves both efficient resolution of issues and broadened access to the courts.” The

  6 Wilderness Soc’y v. U.S. Forest Serv., 630 F.3d 1173, 1179 (9th Cir. 2011). As this

  7 Court expressly maintained jurisdiction over both the Receivership and motions

  8 relating to its prior orders and judgments in this case, the appropriate means for

  9 doing so is through a Rule 24(a) motion in this case. Dkt. 120 at 29; 121 at 39;142 at

 10 27; U.S. v. Palomar-Santiago, 141 S. Ct. 1615, 1622 (2021) (collateral attack

 11 doctrine requires challenges to be made in the case where order was issued).

 12                1.    Wells Fargo’s Motion is Timely
 13         Motions to intervene as of right must be timely pursued. Fed. R. Civ. P.
 14 24(b)(1); Cal. Dep’t of Toxic Substances Control v. Com. Realty Projects, Inc., 309

 15 F.3d 1113, 1119 (9th Cir. 2002). “Timeliness is a flexible concept.” U.S. v. Alisal

 16 Water Corp., 370 F.3d 915, 921 (9th Cir. 2004); see also Smith v. Los Angeles

 17 Unified Sch. Dist., 830 F.3d 843, 854 (9th Cir. 2016) (holding motion to intervene

 18 timely even though 20 years passed, as plaintiff commenced the action several

 19 months after a change in circumstances occurred). When assessing timeliness, courts

 20 should weigh: (1) the stage of the proceeding at which an applicant seeks to

 21 intervene; (2) the prejudice to other parties; and (3) the reason for, and length of, the

 22 delay. Id. Each of these factors weighs in favor of Wells Fargo and support a finding

 23 that Wells Fargo’s Motion is timely.

 24                      i.     Intervention at this Stage is Appropriate
 25
            To determine whether intervention is timely at the current stage of litigation,
 26
      the court must consider whether “a party’s interest in a specific phase of a
 27
      proceeding may support intervention.” Alisal Water, 370 F.3d at 921. The crucial
 28
                                                14
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  1 date for assessing the timeliness of a motion to intervene is when proposed

  2 intervenors should have been aware that their interests would not be adequately

  3 protected by the existing parties. Officers for Justice v. Civil Serv. Comm’n, 934

  4 F.2d 1092, 1095 (9th Cir. 1991); U.S. v. Oregon, 745 F.2d 550, 552 (9th Cir. 1984).

  5 “Where a change of circumstances occurs, and that change is the ‘major reason’ for

  6 the motion to intervene, the stage of proceedings factor should be analyzed by

  7 reference to the change in circumstances, and not the commencement of the

  8 litigation.” Smith, 830 F.3d at 854.

  9        It is only in the current stage of the proceedings that Wells Fargo could
 10 intervene as the change in circumstance that provided the substance of its claim and

 11 the standing for the claim both recently occurred. Although the FTC filed its action

 12 against Defendants in 2018, Wells Fargo was, and always has been, nothing more

 13 than a third-party witness in this case (as it is in thousands of cases annually) that

 14 willingly complied with the FTC’s legal process requests for account freezes and

 15 information related to accounts utilized by the Defendants. In fact, the FTC never

 16 ascribed in any pleading, including its Stipulated Settlements with the Defendants,

 17 that either Wells Fargo or its employees knew of, or knowingly participated in, the

 18 alleged frauds committed by the Defendants. Dkt. 1, 73, 120-121. Moreover, while

 19 the Receiver, operating under a series of orders issued by this Court, has pursued its

 20 investigation against Wells Fargo from at least some point before the FTC’s 2019

 21 Stipulated Settlement with the Defendants in this action, it only has been within the

 22 past several months that changed circumstances arose such that intervention by

 23 Wells Fargo is warranted.

 24        Specifically, it was not until this past April that the Supreme Court held in
 25 AMG Capital that the FTC lacked authority to obtain equitable monetary relief

 26 under Section 13(b) of the FTC Act and found in the process that the equitable

 27 authority provided by Section 13(b) was narrowly tied to preserving prospective

 28 injunctions. Approximately 25 years of Ninth Circuit precedent holding that Section
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  1 13(b) empowered courts with the full breadth of equitable authority – whether it be

  2 in imposing monetary relief or defining the scope of equitable authority granted

  3 when providing other ancillary relief, such as the appointment of receivers – was

  4 now cast aside. The Receiver filed the Wells Fargo Litigation in July 2021,

  5 notwithstanding AMG Capital. This lawsuit is the manifestation of the Receiver’s

  6 use of the overbroad orders in this case allowing it to operate with “the full powers

  7 of an equity receiver” and its core purpose is the pursuit of Wells Fargo for tens-to-

  8 hundreds of millions of dollars in damages, subject to trebling and punitive

  9 damages, in reliance on the equitable monetary judgments erroneously awarded to

 10 the FTC as part of the underlying proceedings. RJN Exh. A. It was only at this time

 11 that an actionable dispute warranting intervention arose. Wells Fargo then engaged

 12 in meet and confer discussions, consistent with this Court’s orders, and obtained the

 13 necessary information by December 2021 regarding the basis for the Court’s

 14 appointment of the Receiver here. Given these recent material changes in

 15 circumstance, it is appropriate for Wells Fargo to file its intervention motion now.

 16                      ii.    Wells Fargo’s Proposed Intervention Will Not Unduly
 17
                                Delay or Prejudice the Parties

 18        Wells Fargo’s intervention in this action will not prejudice other parties. The
 19 second factor the Ninth Circuit looks at to determine whether intervention is timely

 20 is whether there is “prejudice to the other parties.” League of United Latin Am.

 21 Citizens v. Wilson, 131 F.3d 1297, 1302 (9th Cir. 1997). The question is not whether

 22 intervention itself will cause the “nature, duration, or disposition of the lawsuit to

 23 change,” but rather, whether the existing parties will be prejudiced by the delay

 24 caused by intervention. Defs. of Wildlife v. Johanns, No. C 04-4512 PJH, 2005 U.S.

 25 Dist. LEXIS 34455, at *11 (N.D. Cal. Dec. 1, 2005). The clear answer here is a

 26 resounding - no - because all allegations against the Defendants charged in this

 27 action have been fully resolved. Dkts. 120-121. Wells Fargo’s intervention motion

 28 does not seek to upset the existing judgments between the FTC and the settled
                                             16
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  1 Defendants but rather seeks to challenge orders that relate to the Court-appointed

  2 Receiver and how that Receiver may use the erroneously secured judgments

  3 prospectively in litigation against Wells Fargo. In fact, it should be apparent from

  4 the record that Wells Fargo has carefully framed its pleadings precisely not to

  5 negatively impact the parties’ settlements. Thus, this motion does not cause any

  6 undue delay or prejudice to the original parties. Cal. Dep’t of Toxic Substances

  7 Control, 309 F.3d at 1120; see also Day v. Apoliona, 505 F.3d 963, 966 (9th Cir.

  8 2007) (granting motion to intervene two years after action was filed, where

  9 intervention would not prejudice existing parties or delay litigation).

 10         As to the Receiver, there also is no undue delay or prejudice. The merits of
 11 the motion require that it be brought. The collateral attack doctrine and this Court’s

 12 order retaining jurisdiction over the judgments require that it be brought in this case.

 13 While the Receiver will have to address Wells Fargo’s intervention motions in two

 14 separate venues, that is a problem of the Receiver’s election for it is the Receiver,

 15 not Wells Fargo, who chose to blend together confidential information secured

 16 through wholly unrelated and wholly separate court appointments in wholly separate

 17 districts into a single lawsuit in a strategic attempt to develop settlement leverage

 18 against Wells Fargo. By doing so, the Receiver left open the possibility that he

 19 would have to litigate select motions in each district, which is the case here. There is

 20 no reason to expect that either this motion or the intervention motion will result in

 21 delay, much less undo delay. Again, the merits require that this issue be litigated.

 22 Moreover, because this motion is being litigated in the original case, the Wells

 23 Fargo Litigation can proceed as scheduled.

 24
                         iii.   Wells Fargo Has Not Delayed in Seeking Intervention
 25
            Wells Fargo has not delayed in seeking to intervene. As discussed above, the
 26
      grounds supporting intervention as of right only recently arose, in July 2021, when
 27
      the Receiver filed the Wells Fargo Litigation, which ignored the bright-line legal
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  1 principal adopted in AMG Capital. RJN Exh. A. In the brief period since the action

  2 was filed, it has become apparent that none of the parties to the instant action can, or

  3 will, adequately represent Wells Fargo’s interests in ensuring that the orders

  4 delegating authority to the Receiver conform with the Supreme Court’s holding in

  5 AMG Capital. Officers for Justice, 934 F.2d at 1095 (the focus of the length of delay

  6 prong is on when “the person attempting to intervene should have been aware his

  7 interests would no longer be protected adequately by the parties, rather than the date

  8 the person learned of the litigation”). Wells Fargo has acted deliberately and

  9 expeditiously to protect its interests once a potentially actionable claim materialized.

 10            As part of this process, Wells Fargo has taken its meet-and-confer
 11 responsibilities very seriously. For instance, when Moskvins and SIA Transact Pro

 12 filed an AMG Capital-based Rule 60 motion that sought to set aside their wholly

 13 unpaid $3,500,000 judgment, Wells Fargo discussed intervention at that time with the

 14 FTC and the Receiver. Both strongly opposed Wells Fargo’s intervention, citing the

 15 perceived finality of the underlying orders and the grave harm that would be caused

 16 to consumers if the judgments were undone because of a Receiver-based lawsuit. FTC

 17 counsel separately raised a host of additional issues, including Article III standing. As

 18 the issues raised in this pending Rule 60 motion were materially different than those

 19 that would be raised by Wells Fargo11, Wells Fargo directed its resources towards

 20 further research and analysis on the issues and concerns raised during the meet and

 21 confer process.

 22            It concluded the research and again determined that the motion needed to be
 23 filed; however, rather than asking the Court to vacate the judgments in their entirety,

 24

 25
      11
           These include: (1) Moskvins and SIA Transact Pro were not part of the
 26 Receivership and their judgment did not factor into the damage award being sought
      against Wells Fargo; (2) their settlement included a broad waiver that precluded
 27 attacks on the judgment; (3) they submitted a declaration with demonstrably
      incorrect statements that had to be withdrawn; and (4) the order they were
 28 challenging was final and therefore, their motion rested exclusively with Rule 60.
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  1 which would have a substantial impact on the underlying parties and the consumers’

  2 ability to obtain redress from the FTC’s negotiated settlement with the Defendants,

  3 it tailored its request to only seek an order that the monetary judgments could not be

  4 used prospectively against it in the ongoing litigation. To do so, however, it needed

  5 to first secure several under seal documents, including the TRO order appointing the

  6 Receiver and the Receiver’s declarations setting forth the justification for continuing

  7 the Receivership to allow for it to file a lawsuit against Wells Fargo. To that end, it

  8 again met and conferred with the FTC and the Receiver the first week of November

  9 and advised them that it intended to file a motion to intervene to secure these

 10 documents, which would be followed by a second motion addressing the substantive

 11 AMG Capital issue. Over the course of several communications, it ultimately was

 12 agreed that the FTC and the Receiver would dispense of the need of the first motion

 13 by requesting the relief themselves as parties to the action.

 14        The Receiver filed a motion to unseal these documents on November 18,
 15 2021. Dkt. 212. This Court granted the motion to unseal on December 10, 2021.

 16 Dkt. 213. After Wells Fargo was able to adequately evaluate these additional

 17 documents, it brought this motion. Accordingly, this final factor, like the two before

 18 it, supports a finding in favor of the timeliness.

 19               2.     Wells Fargo has a Significant Protectable Interest
 20        It is indisputable that Wells Fargo has a significant protectable interest in this
 21 action. Citizens for Balanced Use, 647 F.3d at 897 (quoting Greene v. U.S., 996

 22 F.2d 973, 976 (9th Cir. 1993)) (a significantly protectable interest exists when the

 23 proposed intervenor can establish an interest that is protectable under some law and

 24 that is related to the claims at issue.) As addressed at length above, both the orders

 25 imposing monetary judgments and the orders empowering the receivership exceed

 26 the lawful authority under which they were granted. Nevertheless, the Receiver is

 27 relying on these orders to weaponize unfounded civil litigation against Wells Fargo,

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  1 causing it both reputational and monetary harm. At the bare minimum, Wells Fargo

  2 has the basic due process right of litigating these issues so that, if it is to be sued by

  3 a representative of this Court, it be done based on orders that are consistent with

  4 current law. Intervention is necessary so that it can fully raise these claims and

  5 address with this Court various measures that should be taken to correct these errors.

  6 See e.g., FTC v. Noland, Case No. CV-20-00047-PHX-DWL, 2021 U.S. Dist.

  7 LEXIS 182346, at *11-14 (D. Ariz. Sep. 23, 2021) (recognizing that post-AMG

  8 Capital, the scope of a receiver’s duties is to prevent receivership entities from

  9 engaging in ongoing and future harm, not to pursue monetary relief).

 10               3.     Failure To Allow Intervention Will Impair Wells Fargo’s
 11
                         Ability to Protect Its Interest

 12         It is equally indisputable that Wells Fargo’s ability to protect its interests will
 13 be impaired if intervention is not granted. Fed. R. Civ. P. 24(a)(2); Sw. Ctr. for

 14 Biological Diversity, 268 F.3d at 822. (“[i]f an absentee would be substantially

 15 affected in a practical sense by the determination made in an action, he should, as a

 16 general rule, be entitled to intervene.”) Absent intervention, the status quo will

 17 remain, and the Receiver, despite being appointed and empowered based on a

 18 fundamentally overbroad application of the equitable remedies permitted under the

 19 FTC Act, will remain unchecked in its efforts to secure redress that support

 20 monetary judgments that, in whole or in part, were erroneously imposed under

 21 Section 13(b). This Court has supervision over the Receiver, issued the applicable

 22 orders setting forth the scope of the Receiverships, and retained jurisdiction over the

 23 Stipulated Settlements. It is only through intervention in this case that Wells Fargo

 24 can properly seek modifications of the existing orders to bring them into necessary

 25 alignment with current law and thereby, ensure that the action against it is not

 26 premised on unlawful or erroneous rulings.

 27

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  1               4.     No Other Party Can Adequately Protect Wells Fargo’s
  2
                         Interests

  3        No party to this action can or will defend, much less adequately defend, Wells
  4 Fargo’s interests. As a preliminary matter, the FTC and Receiver had made known

  5 their intent to contest fully the relief sought. This is unsurprising, as each has a

  6 directly competing interest that virtually ensures that, absent intervention, issues

  7 related to the appropriate scope of the Receiver’s authority and actions post-AMG

  8 Capital will never be addressed in this case. U.S. v. City of Los Angeles, 288 F.3d

  9 391, 398 (9th Cir. 2002) (Whether the movant’s interests are adequately represented

 10 by the current parties depends on three factors: (1) “whether the interest of a present

 11 party is such that it will undoubtedly make all the [movant’s] arguments;

 12 (2) whether the present party is capable and willing to make such arguments; and

 13 (3) whether the would-be intervenor would offer any necessary elements to the

 14 proceedings that other parties would neglect.”) (citing Northwest Forest Res.

 15 Council v. Glickman, 82 F.3d 825, 838 (9th Cir. 1996))

 16        The FTC rightfully considers its case against the actual wrongdoers, the
 17 Defendants, to be complete. Dkt. 120, 121. Its interests, therefore, lie squarely with

 18 protecting the finality of the Stipulated Settlements, preserving the monetary relief

 19 recovered from the Defendants, and potentially adding to those settlements through

 20 a Receiver generated settlement or judgment against Wells Fargo.

 21        The Defendants, likewise, entered into highly favorable Stipulated
 22 Settlements with the FTC, and in return, agreed to waive all challenges to the

 23 validity of the monetary judgments and to cooperate with the FTC in matters

 24 relating to their settlement. Dkt. 120 at 2; Dkt. 121 at 2; see, e.g., In re Outlaw

 25 Labs., LP Litig., No. 18-cv-840-GPC-BGS, 2021 U.S. Dist. LEXIS 129429, at *11

 26 (S.D. Cal. July 12, 2021) (holding that a settling party agreeing to restrictions in a

 27 settlement cannot adequately represent a non-party in the litigation). Moreover,

 28 these Defendants have no interest in advancing Wells Fargo’s arguments, because
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  1 the matter is resolved as to them and any funds extracted by the Receiver would

  2 reduce the overall outstanding obligation. Dkt. 120 at 22; Dkt.121 at 22.

  3        Most compellingly, the Receiver’s actions throughout this case demonstrate
  4 that it intends to utilize the full scope of the overbroad grant of authority set forth in

  5 the current orders. The Receiver’s pursuit of a monetary recovery from Wells Fargo

  6 has been nothing short of Quixotic. It has been marked by the pursuit of a company

  7 that the FTC never assigned any culpability to in either its charging documents or its

  8 settlement agreements. Dkts. 1, 73, 120-121. The Receiver has trudged along for

  9 years after the FTC, which initially asked for the Receiver’s appointment, entered

 10 into a stipulated agreement recommending a near-immediate wind down of the

 11 Receivership. Dkt. 120 at 27; Dkt. 121 at 22. The Receiver obtained Court approval

 12 to retain contingency counsel to provide basic funding, because as the Receiver

 13 conceded, the suit against Wells Fargo would not be an effective use of

 14 Receivership assets. Dkt. 144-1 at 1-2; Dkt. 148 at ¶ 11. The Receiver persisted

 15 undeterred by either the AMG Capital decision (a case in which he served as the

 16 court-appointed monitor), or the Receiver’s own acknowledgment in his monitor’s

 17 report filed upon remand of AMG Capital that the Supreme Court’s decision

 18 required that all Monitor-related actions be terminated and/or unwound. The

 19 Receiver strategically engineered that two lawsuits be simultaneously filed against

 20 Wells Fargo to double up on both the costs of litigation and Wells Fargo’s potential

 21 exposure in its efforts to leverage a “substantial” settlement. Wells Fargo Litigation.

 22 Dkt. 1. The Receiver will continue until an interested party in this case acts to curb

 23 this overreach and to realign the scope of the Receiver’s rightful duties with the

 24 current state of the law.

 25        There is no entity other than Wells Fargo that has the particularized interest to
 26 challenge the orders authorizing the Receiver to continue forward. Likewise, there is

 27 no entity better positioned than Wells Fargo to make the necessary arguments how

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  1 the Receiver’s current actions in that pursuit are contrary to law. Intervention by

  2 Wells Fargo, therefore, is both necessary and appropriate.

  3        Wells Fargo has established its right to mandatory intervention under Rule
  4 24(a). This Court should grant its motion to intervene.

  5        C.       Wells Fargo Also Satisfies All of the Requirements of Permissive
  6
                    Intervention

  7        In the alternative, the Court may exercise its discretion to allow permissive
  8 intervention. In instances when intervention as of right is unavailable, an intervenor

  9 can obtain permissive intervention where the following three threshold requirements

 10 are met: (1) the motion is timely filed; (2) a common question of law or fact shared

 11 with the main action exists; and (3) an independent basis for the court to exercise

 12 jurisdiction over its claims is present. Fed. R. Civ. P. 24(b). In deciding whether to

 13 grant permissive intervention, a court “shall consider whether the intervention will

 14 unduly delay or prejudice the adjudication of the rights of the other parties.” Fed. R.

 15 Civ. P. 24(b)(2); see also Garza v. Cty. of L.A., 918 F.2d 763, 777 (9th Cir. 1990).

 16 District courts have broad discretion to grant permissive intervention under Rule

 17 24(b). See Spangler v. Pasadena City Bd. Of Ed., 552 F.2d 1326, 1329 (9th Cir.

 18 1977). As explained below, Wells Fargo also meets the test for permissive

 19 intervention.

 20                 1.   Wells Fargo’s Motion to Intervene is Timely
 21        Motions for permissive intervention also must be timely made. Fed. R. Civ. P.
 22 24(b)(1). As addressed above, Wells Fargo’s motion is timely, as it acted

 23 expeditiously to pursue intervention after the Receiver filed the Wells Fargo

 24 Litigation in July 2021, pursuing claims inconsistent with the letter and spirit of the

 25 Supreme Court’s holding in AMG Capital. Supra, Section III.A.; Wells Fargo

 26 Litigation. Dkt. 1. Additionally, there is no prejudice against the parties because the

 27 adjudication of the rights of the other parties have already been determined and

 28 Wells Fargo’s intervention does not seek to disrupt that order. See Section III.B.1.ii.,
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  1 supra. Therefore, there is ample basis for this Court to exercise its broad discretion

  2 to allow for intervention. Alaniz v. Tillie Lewis Foods, 572 F.2d 657, 659 (9th Cir.

  3 1978).

  4                2.    Wells Fargo Shares a Common Question of Law or Fact with
  5
                         this Action

  6         A potential intervenor need only show that it has a “claim or defense that
  7 shares with the main action a common question of law or fact.” Fed. R. Civ. P.

  8 24(b)(1)(B); Beckman Indus. v. Int’l Ins. Co., 966 F.2d 470, 473 (9th Cir. 1992); see

  9 Venegas v. Skaggs, 867 F.2d 527, 530 (9th Cir. 1989) (district court may exercise its

 10 discretion in permitting intervention where common questions of law or fact exist).

 11 There can be no question this requirement has been met because the Receiver

 12 asserted, and thereby conceded, this very fact when he filed a notice of related case

 13 with the Complaint in the Wells Fargo Litigation. See Thomas W. McNamara v.

 14 Wells Fargo & Company, et al., Case No. 3:21-cv-01245-AJB-JLB (S.D. Cal.), Dkt.

 15 2 attached as RJN, Exh. E at 2. (Receiver “brings this action against the Defendants

 16 for conduct arising out of the same underlying facts at issue in the foregoing

 17 lawsuits, inter alia, Defendants alleged aiding and abetting of the fraudulent
                               12
 18 schemes at issue therein.”) Similarly, the clerk made findings citing to the

 19 commonality of facts and legal issues when assigning the Wells Fargo Litigation to

 20 Judge Burns, who accepted the assignment. Thus, this factor weighs heavily in favor

 21 of a grant of permissive intervention.

 22

 23

 24   12
        Other common issues and facts, including but not limited to: (1) whether the
      Receiver’s authorization permits the Receiver to rely on monetary judgments
 25   erroneously imposed under Section 13(b) as the basis for prospectively pursuing
      monetary damages from Wells Fargo; (2) if not, is there a basis on which to
 26   calculate a damage award under Section 19 and is such relief warranted at this time;
      (3) whether the Receiver can seek to recover types of damages that are expressly
 27   prohibited under the statutes relied upon as the basis for the Receiver’s appointment;
      and (4) whether the Receiver has standing to pursue a monetary award that lies
 28   wholly in consumer redress.
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  1                   3.   An Independent Basis for Jurisdiction Exists in this Action
  2         An applicant that seeks permissive intervention also must establish an
  3 independent basis for jurisdiction. Nw. Forest Res. Council v. Glickman, 82 F.3d

  4 825, 839 (9th Cir. 1996). This requirement is primarily concerned with avoiding the

  5 inappropriate expansion of the district court’s jurisdiction. Freedom from Religion

  6 Found., Inc. v. Geithner, 644 F.3d 836, 844 (9th Cir. 2011). Permitting Wells Fargo

  7 to intervene in this action will not expand the Court’s jurisdiction.

  8         This Court has exclusive jurisdiction over the assets of the receivership and
  9 expressly retained jurisdiction over the Receivership and motions relating to its prior

 10 orders and judgments. Dkt. 120 at 29; 121 at 39;142 at 27. By seeking to intervene

 11 in this matter to contest the orders addressing the unlawfully overbroad scope of the

 12 Receivership post-AMG Capital, Wells Fargo is recognizing the independent basis

 13 for jurisdiction that exists within this case and is complying with, rather than

 14 expanding, that jurisdiction AMG Cap. Mgmt., LLC, 141 S. Ct. at 1348-1349; see

 15 also, FTC v. AT&T Mobility Ltd. Liab. Co., 883 F.3d 848, 853 (9th Cir. 2018)

 16 (holding that district court had federal question jurisdiction because the dispute of

 17 the FTC Act arose under federal law).

 18         As Wells Fargo’s motion satisfies all of the requirements for permissive
 19 intervention, this Court should exercise its discretion and grant its Rule 24(b)

 20 motion.

 21 IV.     CONCLUSION
 22
            For the foregoing reasons, this Court should grant Wells Fargo’s motion for
 23
      intervention.
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  1 DATED: January 18, 2022               Respectfully submitted,
  2
                                          MCGUIREWOODS LLP
  3

  4                                       /s/ Alicia A. Baiardo___________________
                                          David C. Powell, Esq.
  5                                       Kevin M. Lally, Esq.
  6                                       Alicia A. Baiardo, Esq.

  7                                       Counsel for Proposed Intervenor
                                          Wells Fargo & Company and Wells Fargo
  8                                       Bank, N.A.
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  1                           CERTIFICATE OF SERVICE
  2        I hereby certify that on January 18, 2022, the foregoing document was filed
  3 electronically in the Court's Electronic Case Filing system ("ECF"); thereby upon

  4 completion the ECF system automatically generated a Notice of Electronic Filing

  5 ("NEF") as service through CM/ECF to registered e-mail addresses of parties of

  6 record in the case.

  7

  8                                       /s/ Alicia A. Baiardo
  9
                                              Alicia A. Baiardo

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